STATE OF WISCONSIN CIRCUIT COUR'I`

WALWORTH COUN'I`Y

 

RUDOLPH RAAB d/b/a RAAB INVESTMENTS and
R & W LODGING,
LIM]TED LlABILITY COMPANY,

Plaintii°fs,
v.

MICHAEL C. WENDEL, individually and d/b/a THE
WENDEL GROUP, INC., WENDEL COMPANIES,
LLC, WENDEL ENTERPRISES, LLC, WENDEL
INVESTME`.NTS, LLC, WENDEL HOSPITALITY,
LLC, WENDEL INVESTMENTS, INC., SAND
COMPANIES, INC., SAND HOSPITAL]TY, LLC, SCI
HOTELS, LLC and

MICHAEL C. WENDEL d/b/a WEST BEND
HOSPITALITY, INC.,

705 9th StreetN

Sartell, MN 56377,

WEST BEND I-IOSPITALITY, INC.,
705 9th Street N
Sartell, MN 56377,

LEO M. SAND, individually and

d/b/a SAND HOSPI'I`ALFTY, LLC, SAND
COMPANIES, INC., and SCI HOTELS, LLC
366 South IOth Avenue

Waite Park, MN 56387

SAND HOSPITALITY, LLC,
366 South lOth Avenue
Waite Park, MN 563 87,
SAND COMPANIES, INC.,

366 South lOth Avenue
Waite Park, MN 56387,

and

SCI HOTELS, LLC,
366 South lOth Avenue
Waite Parl<, MN 56387,

Defendants.

Exhibit 2

Case No. 14-CV-657

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FIRST AMENDED COl\/IPLAINT

 

NOW COME the Plaintiffs, Rudolph Raab d/b/a Raab Investments and R &. W Lodging,
LLC, by their attorneys, DeWitt Ross & Stevens S.C., by Shawn M. Govem and OIivia M.
Keliey, and for a First Amended Complaint against the Defendants, alleges as follows:

PARTIES

l. Rudolph Raab d/b/a Raab Investments (“Raab”) is an individual Wisconsin
resident doing business in Wisconsin as Raab Investrnents. Raab resides at 876 W13502
Fairfield Court, Muskego, WI 53150 and does business as Raab Investments at 1516 S. West
Ave, Waukesha, WI 53189.

2. R & W Lodging, LLC (“R&W”) is a Wisconsin limited liability company
organized effective March 9, 1998 by and between Raab and Wendel Investments, Inc., a
Minnesota corporation that, subsequent to organizing R&W, has been administratively dissolved
R&W’s initial and only Members to date are Raab and Wendel Investments, Inc. The Members
formed R&W for the purpose of constructing and owning a hotel in East Troy, Wisconsin,
located at 2921 O’Leary Lane, East Troy, Wisconsin 53120 (“Hote|”). Attached to this
Complaint as Exhibit A and incorporated herein by reference is a true and correct of the R&W
Operating Agreement.

3. Upon information and belief, Defendant Michael C. Wendel (“Michael”) is an
individual Minnesota resident that has done or is currently doing business in Wisconsin, either as
an individual or as one or more of the following entities: The Wendel Group, lnc., Wendel

lnvestments, lnc., Wendel Companies, LLC, Wendel Enterprises, LLC, Wendel Investrnents,

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LLC, West Bend l-lospitality, Inc. and/or Wendel Hospitality, LLC (collectively, “Wendel
Entities”), each of which is a Minnesota corporation or limited liability company, respectively.
Upon information and belief, Michael is a director of The Wendel Group, Inc. and a director and
shareholder of Sand Companies, Inc. Upon further information and belief, at all times material to
this Complaint, Michael was the Chief Executive OHicer of West Bend Hospitality, Inc. Upon
further information and belief, Michael resides at 705 9th Street N, Sartell, MN 56377, and does
business both H'om that address and from the Hotel, located at 2921 O’Leary Lane, East Troy,
Wisconsin 53120.

4. Upon information and belief, Defendant Wendel lnvesn‘nents, Inc. (“Wendel
Investments”) was a Minnesota corporation organized on or about May 15, 1998. Wendel
Investments was a Member of R&W. Upon information and belief and according to the records
published orr the Minnesota Secretary of State Business and Lien System website, Wendel
lnvestrnents was administratively dissolved on or about March 23, 2003. Upon further
information and belief and according to the records published on the Wisconsin Department of
Financial Institutions Corporate Records Search website, Wendel Investments has not registered
to do business in Wisconsin.

5. Upon information and belief, Defendant The Wendel Group Inc. (“WGI”) is a
Minnesota corporation, with a principal place of business located at 366 S. lOth Avenue, Waite
Park, Minnesota 56387. WGI does or has done business in Wisconsin, including without
limitation, entering into at least one Management Consulting Agreement, wherein WGI agreed to
supervise and direct the management and operation of the Hotel. Attached to this Complaint as
Exhibit B and incorporated herein by reference is a true and correct of the Management

Consu|ting Agreement.

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6. Upon information and belief, Defendant West Bend Hospitality, ]nc. (“West Bend
Hospitality”) is a Minnesota corporation organized on or about June 25, ]996, with a principal
place of business located at 705 9th Street N, Sartell, Minnesota 56377. Upon information and
belief and according to the records published on the Minnesota Secretary of State Business and
Lien System website, West Bend Hospitality’s Chief Executive Offrcer is or was Michae|
Wendel. Upon further information and belief and according to the records published on the
Minnesota Secretary of State Business and Lien System website, West Bend Hospitality filed a
Dissolution - Business Corporation (Domestic) on or about December 5, 2007. Upon linther
information and belief and according to the records published on the Wisconsin Department of
Financia| Institutions Corporate Records Search website, West Bend Hospitality registered to do
business in Wisconsin as a Foreign Business Corporation on January 7, 1998 and filed a
withdrawal on November 8, 2007.

7. Upon information and belief, Defendant Leo Sand (“Leo”) is an individual
Minnesota resident that has done or is currently doing business in Wisconsin, either as an
individual or as one or more of the following entities: Sand Hospitality LLC; Sand Companies
Inc.; SC] Hotels, LLC (collectively, “Sand Entities”), each of which is a Minnesota corporation
or limited liability company, respectively. Upon information and belief, Leo is a director,
manager, or president of the Sand Entities. Upon further information and belief, Leo resides at
and the Sand Entities’ principal place of business is located at 366 South lOth Avenue, Waite
Park, MN 563 87.

8. Upon information and belief, Defendant Sand Hospitality, LLC (“Sand
Hospitality”) is a Minnesota limited liability company, with a principal place of business located
at 366 S. lOth Avenue, Waite Park, Minnesota 56387, and a registered agent located at National

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Registered Agents Inc., 8040 Excelsior Drive, Suite 200, Madison, Wisconsin 537]7. Upon
information and belief, Sand Hospitality does or has done business in Wisconsin, including but
not limited to: receiving payments from R&W in 2007; engaging in management services for the
Hotel since 2008; entering into a Hotel Management Agreement in 2012 wherein Sand
Hospitality agreed to manage, supervise and oversee the operation and maintenance at the Hotel.
Attached to this Complaint as Exhibit C and incorporated herein by reference is a true and
correct of the Hotel Management Agreement dated January l, 2012, executed by Sand
Hospitality.

9. Upon information and belief, Defendant Sand Companies, Inc. (“Sand
Companies”) is a Minnesota corporation, with a principal place of business located at 366 S.
lOth Avenue, Waite Park, Minnesota 56387, and a registered agent located at National
Registered Agents Inc., 8040 Excelsior Drive, Suite 200, Madison, Wisconsin 53717. Upon
information and belief, Sand Companies is an affiliate of Sand Hospitality or Sand Entities and
does or has done business in Wisconsin, including but not limited to, employment of Hotel staff
and receiving payment or reimbursement for providing employees to the Hotel.

10. Upon information and belief, Defendant SCI Hotels, LLC (“SCI”) is a Minnesota
limited liability company, with a principal place of business located at 366 S. lOth Avenue,
Waite Park, Minnesota 563 87, and a registered agent located at National Registered Agents lnc-,
8040 Excelsior Drive, Suite 200, Madison, Wisconsin 537]7. Upon information and belief,
SCI’s registered Manager in the state of Minnesota is Defendant Sand Companies, Upon
information and belief, SCI is an affiliate of Sand Hospitality or Sand Entities and does or has
done business in Wisconsin, including but not limited to, employment of Hotel staff and
receiving payment or reimbursement for providing employees to the Hotel.

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FAC'I'UAL ALLEGATIONS

HOTEL OWNERSH]P AND MANAGEMENT; RELATED AGREEl\/[ENTS

ll. On or about March 9, 1998, Raab and Wendel lnvestrnents formed and organized
R&W.

l ]2. Raab and Wendel lnvestments were the sole original Members of R&W.

13. R&W has not had any other members, other than Raab and Wendel Investments.

14. R&W was formed to purchase, construct and operate the Hotel.

15. Pursuant to the R&W Operating Agreement, dated September 16, 1998 (Exhibit
A), Raab contributed eighty percent (80%) of the capital necessary to purchase, construct and
operate the Hotel, and consequently retained an eighty percent (80%) interest in R&W.

l6. Pursuant to the R&W Operating Agreement (Exhibit A), Wendel Investments
contributed twenty percent (20%) of the capital necessary to purchase, construct and operate the
Hotel, and was to provide the daily operation and management for the Hotel; consequently,
Wendel lnvestments retained a twenty percent (20%) interest in R&W.

17. On or about September 16, 1998, R&W and WGI entered into a Management
Consultant Agreement (Exhibit B).

18. Pursuant to the Management Consultant Agreement, WGI agreed to supervise and
direct the management and operation ofthe Hotel, including, without limitation:

a. determine operating policies, quality of service and customer relations,
promotion and publicity; `

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b. operate in accordance with the License Agreement with Country lnn & Suites
by Carlson;

c. hire, pay, supervise and discharge all employees, with all employees being an
employee of WGI, including determining employee benefits, and negotiate
and enter into agreements with labor unions representing WGI employees;

d. maintain the Hotel;
e. establish price and rate schedules for all Hotel spaces;

f. negotiate and execute leases, as well as enter into service contracts for the
Hotel operation;

g. apply for, obtain and maintain all Hotel licenses and permits;

h. attend to tenant and guest complaints and process and resolve any claims
relating to the Hotel, including insurance claims;

i. supervise and purchase all inventory and supplies;

j. prepare all necessary tax documentation for the Hotel and WGI employees
and make any and all necessary tax payments;

k. prepare and comply with an annual budget;

l. execute all documents necessary or convenient in the management,
administration and operation of the Hotel; and

m. obtain approval of both R&,W’s members1 Raab and Wendel Investments,
prior to committing to any single expenditure in excess of $5,000.

19. Pursuant to the Management Consulting Agreement § 4, R&W, funded 80% by
Raab, agreed to provide the operating expenses and reimbursements for the Hote|’s management,
administration and operation.

20. Pursuant to the Management Consulting Agreement §§ 6(b)-(c), R&W paid WGI
a management fee of 2% of monthly gross Hotel revenues, with an increase of an extra l% in the

event of a positive cash flow.

21. Pursuant to the Managernent Consulting Agreement § 7, WGI was to notify and

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submit invoices and receipts for reimbursement to R&W.

22. Pursuant to the Management Consulting Agreement § 8, WGI was to maintain all
Hotel records and books, and R&W had the right to inspect or retain the original records and
books upon request.

23. Pursuant to the Management Consulting Agreement § 14, neither R&W nor WGI
could assign the Management Consulting Agreement without written consent of the other party.

24. Upon information and belief, WGl has a fiduciary duty to R&W.

25. Upon information and belief, Wendel Investments was administratively dissolved
on or about March 23, 2003.

26. Wendel Investments did not notify Raab, pursuant to the R&W Operating
Agreement § 9, that Wendel Investments intended to or did name or appoint a transferee of
Wendel lnvestments’ Membership Units in R&W, nor was any such transferee ever admitted as
a Substitute Member.

27. Pursuant to the R&W Operating Agreement §§ 7.2 and 9.2(a), if an R&W
Member dissolves, such Member’s transferees, successors, trustees, receivers or assignees will
retain the right to receive R&W distributions and share in the profit and loss allocations, but will
not have the right, authority or power to make any decisions on behalf of R&W; enter into any
agreements on behalf of R&W; or retain any other rights contained in the R&W Operating
Agreement.

28. At no time did Raab provide his written consent to the appointment of a Substitute
Member for Wendel lnvestments, as required by the R&W Operating Agreement § 9.3.

29. According to a sworn affidavit signed by Leo and filed on July 15, 2014 in
Waul<esha County Case No. ]4-cv-1368, a case that was subsequently transferred to Walworth

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County refiled as Walworth County Case No. l4-cv-657 (the present matter) (“Leo Affidavit”),
Sand Companies, lnc. or its wholly-owned subsidiary Sand Hospitality, LLC had been operating
the Hotel since 2008.

30. The Sand Companies, Inc. or its wholly-owned subsidiary Sand Hospitality, LLC
operated the Hotel without Raab’s knowledge or consent.

3]. E|ectronic accounting records produced by Defendants reveal that Sand
Companies and/or Sand Entities received payments from R&W in 2007 and 2008.

32. Upon information and belief, on or about January I, 2012, Defendant Michael,
representing that he was acting on R&W’s behalf, entered into a Hotel Managernent Agreement
(Exhibit C) with Defendant Sand Hospitality.

33. Michael entered into the Hotel Management Agreement without Raab’s
knowledge or consent.

34. Michael was not, and has never been, a Member or a Substitute Member of R&W.

35. Michael did not have the right, authority or power to act on R&W’s behalf,
including but not limited to, entering into the Hotel Management Agreement.

36. Upon information and belief and according to the Leo Affidavit, on or about the
time that Michael entered into the Hotel Management Agreement with Sand Hospitality, without
the right, authority or power to act on R&.W’s behalf, Sand Companies, Inc., Sand Hospitality or
another related entity, SCI Hotels, had already assumed the role of providing management
services for the Hotel.

37. While the Management Consulting Agreement, entered into by R&W and WGI,

provided that WGI would be paid a maximum of 3% in management fees, the Hotel

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Management Agreement that Michael entered into, without the right, authority or power to act on
R&W’s behalf, increased the management fees to no less than 8%.

38. While the Management Consulting Agreement, entered into by R&W and WGI,
provided that WGI would employ all Hotel employees, the Hotel Management Agreement that
Michael entered into, without the right, authority or power to act on R&W’s behalf, provided that
Defendant SCI or an affiliated entity, would employ all Hotel employees

39. Upon information and belief, WGI, Wendel lnvestment, Sand Companies, Sand
Hospitality and SCI are all related entities that use the same company addresses and offices.

DIVERSION OF R&W AND HOTEL ASSETS

40. Upon information and belief, Wendel Investments, as a Member of R&W, and
Michael, as a director on Wendel lnvestments’ board of directors, had a fiduciary duty to both
R&W and Raab.

41. Upon information and belief, Michael is a director or otherwise exercises control
over the other Wendel Entities, Sand Entities and West Bend Hospitality.

42. Upon information and belief, Wendel Entities, West Bend Hospitality and/or
Michael diverted assets and revenue of R&W and otherwise interfered with the business interests
of R&W and Raab, including but not limited to:

a. Paying management fees to either Wendel Entities, Sand Entities or a
related-entity before paying other Hotel expenses, which were to be given a higher priority than
the management fees, or failing to pay other Hotel expenses because the Hotel assets and
revenues had been depleted as a result of paying management fees ahead of other expenses;

b. Upon information and belief and according to limited and incomplete
accounting records received from Defendants as alleged herein, Defendants disbursed R&W

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funds to one or more Defendants that were in excess of any maximum potential management fee,

including but not limited to;

iii.

iv.

vi.

vii.

viii.

ln 1999, Defendants disbursed $15,091 of R&W hinds to one or
more of the Defendants, which was in excess of the maximum
potential management fee by $6,288;

ln 2000, Defendants disbursed $19,562 of R&W funds to one or
more of the Defendants, which was in excess of the maximum
potential management fee by $1,369;

in 2002, Defendants disbursed $26,006 of R&W hinds to one or
more of the Defendants, which was in excess of the maximum
potential management fee by $5,608;

ln 2003, Defendants disbursed $50,06] of R&W fi.rnds to one or
more of the Defendants, which was in excess of the maximum
potential management fee by $28,290;

In 2004, Defendants disbursed $25,567 of R&W funds to one or
more of the Defendants, which was in excess of the maximum
potential management fee by $3,630;

ln 2005, Defendants disbursed $26,237 of R&W funds to one or
more of the Defendants, which was in excess of the maximum
potential management fee by $5,650;

ln 2006, Defendants disbursed $25,602 of R&W funds to one or
more of the Defendants, which was in excess of the maximum
potential management fee by $3,909;

ln 2007, Defendants disbursed $110,114 of R&W funds to one or
more of the Defendants, which was in excess of the maximum
potential management fee by $85,266;

Between January and May 2008, Defendants disbursed $111,860
of R&W funds to one or more of the Defendants, which was in
excess of the maximum potential management fee by 5104,618;
and

From June 2008 through August 2014, Defendants continued to
disburse R&W funds to one or more of the Defendants in excess of
the maximum potential management fee and, as alleged in herein,
Defendants have yet to produce complete accounting records,

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including supporting documentation, for the relevant years that
Defendants operated R&W and managed the Hotel.

c. Failing to provide full and complete financial disclosure of transactions

being entered into or funds being expended on behalf of the Hotel or R&W;

d. Failing to provide the required written financial records, reports and book

keeping materials on a regular and on-going basis as required by the Management Consulting

Agreement (Exhibit B);

e. By creating transactions and business agreements which resulted in “self-

dealing” and benefited Michael or his affiliated businesses at Raab’s and/or R&W’s.expense,

including but not limited to:

ii.

iii.

iv.

Making payments or disbursements of R&W funds directly to
Michael on July l, 1999; July 2, 1999; October 8, 2003; November
23, 2004; July 6, 2005; August 11, 2005; November 30, 2005;
January 10, 2006; June 6, 2006; July 9, 2007; February 8, 2008;
March 4, 2008; April 2, 2008; May 28, 2008; and May 31, 2008,
which total in excess of $28,620;

Making payments or disbursements of R&W funds directly to
Michael from June l, 2008 through August 2014, but that cannot
be verified because Defendants have not produced electronic
accounting records for June I, 2008 through August 2014;

Making payments or disbursements of R&W funds to the Sand
Companies, lnc. on September 5, 2007; October l I, 2007; October
15, 2007; November 7, 2007; December 4, 2007; January 3, 2008;
January 7, 2008; January 20, 2008; January 25, 2008; March 2,
2008; and May 28, 2008, which total in excess of $l 7,01 2;

Making payments or disbursements of R&W funds directly to the
Sand Companies, lnc. from June l, 2008 through August 2014, but
that cannot be verified because Defendants have not produced
electronic accounting records for June l, 2008 through August
2014;

Making payments or disbursements of R&W funds to SC] Hotels
on January 12, 2008; January 23, 2008; February 7, 2008;

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February 20, 2008; March 5, 2008; March 20, 2008; April 3, 2008;
April ]7, 2008; May 2, 2008; May 17, 2008; May 28, 2008; and
May 29, 2008, which total in excess of $92,622;

vi. Making payments or disbursements of R&W funds directly to SCI
Hotels from June l, 2008 through August 2014, but that cannot be
verified because Defendants have not produced electronic
accounting records for June ], 2008 through August 2014;

vii. Making payments or disbursements of R&W fi.rnds to WGI on July
15, 1999; August 23, 1999; September 19, 1999; September 20,
1999; October 14, 1999; June 1, 2000; June 23, 2000; July 4, 2000;
August 12, 2000; August 23, 2000; September l, 2000; September
12, 2000; September 27, 2000; March l, 2001; June 8, 2001; June
26, 2001; July 2, 2001; July 13, 2001; August l, 2001; August 5,
2001; August 16, 200]; December 11, 2001; January 23, 2002;
February 8, 2002; February 15, 2002; March 26, 2002; April 22,
2002; May 4, 2002; May 27, 2002; June 12, 2002; June 23, 2002;
July 5, 2002; August 3, 2002; September 8, 2002; October ]],
2002; November 2, 2002; January 21, 2003; January 28, 2003;
February 17, 2003; March 27, 2003; May 12, 2003; May 28, 2003;
June 1, 2003; June 10, 2003; June 24, 2003; June 28, 2003; July l,
2003; July 3, 2003; July 21, 2003; August 1, 2003; August 9,
2003; September l, 2003; September 11, 2003; September 22,
2003; September 30, 2003; November 3, 2003; December l, 2003;
January 10, 2004; February 8, 2004; March 30, 2004; ApriI 1,
2004; May 2, 2004; May 20, 2004; June l, 2004; June 7, 2004;
July 1, 2004; July 23, 2004; August 2, 2004; September I, 2004;
September 4, 2004; January 7, 2005; February 21, 2005; May l],
2005; July 10, 2005; July 20, 2005; October 9, 2005, December 29,
2005; February 23, 2006; March 24, 2006; April 12, 2006; May
18, 2006; May 24, 2006; June 6, 2006; July 12, 2006; August l,
2006; September 4, 2006; February 14, 2007; March ]8, 2007;
April 12, 2007; May l, 2007; May 17, 2007; May 25, 2007; June
2, 2007; July 1, 2007; July 2, 2007 and August 27, 2007, which
total in excess of $l 82,775;

viii. Making payments or disbursements of R&W funds directly to
WGI from June l, 2008 through August 2014, but that cannot be
verified because Defendants have not produced electronic
accounting records for June l, 2008 through August 2014;

ix. Making payments or disbursements of R&W funds to West Bend
Hospitality on June l4, 2000; July 4, 2000; July 14, 2000; August
6, 2000; August 23, 2000; October 22, 2000; June 23, 2002;

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August ], 2002; February 10, 2003; March ], 2003; June I, 2003;
July l, 2003; August 1, 2003; September 2, 2003; May 7, 2004;
May 8, 2004; June 1, 2004; August 10, 2005; October 3, 2005;
October 31, 2007 and January 12, 2008, which total in excess of
$105,395, including a $70,000 check issued from R&W to West
Bend Hospitality on October 31, 2007; and

x. Making payments or disbursements of R&W funds directly to
West Bend Hospitality from June l, 2008 through August 2014,
but that cannot be verified because Defendants have not produced
electronic accounting records for June 1, 2008 through August
20]4.

43. Upon information and belief, Sand Entities and/or Leo diverted assets and
revenue of R&W and otherwise interfered with the business interests of R&W and Raab,
including but not limited to:

a. Receiving payment of R&W funds in 2007 through 2014, as alleged in
Paragraph 42(e) of this First Amended Complaint;

b. Operating the Hotel between 2008 and 2014 without authorization from
R&W or Raab;

c. Entering into a management agreement with Wendel Entities and/or
Michael without authorization from R&W or Raab;

d. Receiving payment of unauthorized R&W funds fi'om R&W, the Wendel
Entities and/or Michael before Hotel expenses were paid.

44. Upon information and belief, in 2012, Wendel Entities and/or Michael requested
additional money from Raab and/or R&W, either directly or through loan proceeds acquired for
R&W’s benefit, and represented to Raab and R&W that such additional money was specifically

for maintaining and repairing the Hotel, including the pool area.

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45. Based upon the aforementioned representation, Raab and/or R&W provided the
additional money that Wendel Entities and/or Michael requested

46. Upon information and belief and contrary to the aforementioned representation,
Wendel Entities, Sand Entities, Michael, and/or Leo did not maintain or repair the pool area of
the Hotel, causing further damage to the pool area, and failed to provide an accounting for the
additional money provided for the maintenance and repair of the pool area.

47. Upon information and belief, during the operation of the Hotel, Wendel Entities,
Sand Entities, Michael, and/or Leo failed to obtain approval from both R&W Members prior to
making purchases and committing to expenditures in excess of $5,000 per purchase or expense,
as required pursuant to the Management Consulting Agreement § l(q).

48. Upon information and belief, after Wendel lnvestments was administratively
dissolved, the only R&W Member that had any right, authority or power to make decisions or
enter into agreements on behalf of R&W was Raab.

49. Michael entered into the Hotel Management Agreement without the right,
authority or power to act on R&W’s behalf and without Raab’s knowledge or consent

50. Wendel Entities and Michael breached their fiduciary duties and duties of good
faith and fair dealing owed to both R&W and Raab by diverting R&W assets and interfering with
R&W’s and Raab’s business interests by using R&W assets to make payments to other entities,
including Sand Entities, without the right, authority or power to act on R&W’s behalf and
without Raab’s knowledge or consent.

5]. Upon information and believe, the Hotel Management Agreement Michael
entered into with Sand Hospitality on or about January l, 2012, is void and unenforceable
However, in the event that the Court were to somehow find the Hotel Management Agreement

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enforceable, the terms of the Agreement clearly provides for how the business revenues were to
be expended and in what order they were to be paid. Accordingly, pursuant to the Hotel
Management Agreement § 1.03, the use of Hotel funds for paying Michael, Leo, Wendel
Entities, andfor Sand Entities prior to paying the employees, servicing the debt and covering the
operational expenses is expressly prohibited

52. Wendel Investments, WGI and any of the Wendel Entities that Michael has acted
on behalf of are in privity with each other, including Sand Entities.

53. By entering into the Hotel Management Agreement (Exhibit C), Wendel Entities
and Michael breached their fiduciary duties to R&W.

54. The Management Consulting Agreement between R&W and WGI was in full
force and effect until Raab, as the only Member of R&W with the right, authority and power to
act on R&W’s behalf, terminated the Management Consulting Agreement on May 6, 2014.

55. Upon information and belief, at all times after January 1, 2012, Wendel Entities
and/or Michael utilized R&W accounts and assets to pay the Sand Entities, to manage the Hotel
services in contravention of the R&W Operating Agreement and the Management Consulting
Agreement.

56. Upon information and belief, Wendel Entities has failed to provide the
appropriate and necessary repairs to the Hotel; the necessary customer service and care to the
Hotel guests; the mandatory reporting, record keeping and disclosures required under the
agreements; and failed to maintain the Hotel in a suitable manner, resulting in a decrease in

Hotel patrons and corresponding Hotel revenue.

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57. The Defendants have been uncooperative with the Plaintiffs’ efforts to investigate
the firll extent of the Defendants’ actions relating to the operation and management of the Hotel
and the financial condition ofR&W.

58. When Raab instructed his agents to enter the Hotel premises and secure Hotel
records and documents, Leo and/or Michael instructed the Hotel staff to contact the local police
department and falsely report that Raab’s agents were on the premises “i]legally.”

59. Defendants have produced an electronic database containing incomplete
accounting records for R&W from 1998 through May 2008, but have failed to provide the
complete accounting and financial records for this time period, including supporting
documentation and cancelled checks.

60. Defendants have failed to produce any electronic databases containing complete
accounting and financial records from June 2008-2014.

61. Michael exercised substantial control over the business affairs of R&W and the
Hotel and extensively participated in the activities alleged in this First Amended Complaint,
which were vital to perpetuating the civil conspiracy against the Plaintiffs.

62. Upon information and belief, the Defendants knew that the Plaintiffs’ monetary
contributions were not being used to pay the expenses that the Defendants represented the
monetary contributions were to be used for.

63. ln preparing false reports for the Plaintiffs, the Defendants knew that the reports
were substantially overstating the amount of expenses the Hotel was incurring and understating
the amount of money being used for management costs.

64. The Defendants reported these false account balances to the Plaintiffs through the
use of the United States Mail and through the use of interstate telephone communications

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65. Upon information and belief, these false reports were sent by the Defendants in
concert with each other.

66. Upon information and belief, the Defendants, in an effort to conceal their
unlawful acts, used an intercorporate accounting mechanism and procedures to defraud the
Plaintiffs. Michael, Leo, the Wendel Entities and/or Sands Entities benefitted from this scheme
by disbursing R&W hinds to themselves

67. At no time did the Defendants communicate with the Plaintiffs, upon information
and belief, that they were using R&W revenues and investments for other purposes

68. Defendants willfully converted R&W assets for the Defendants’ benefit and to the
detriment of R&W and Raab.

69. Because of the Defendants’ intricate, fraudulent scheme using multiple businesses
to conceal their actions, Raab and R&W could not have discovered the misappropriation of hinds
and fraudulent activity prior to this litigation commencing

FIRST CAUSE OF ACTION:
APPOINTMENT OF A RECEIVER PURSUANT 'I'O WIS. S'I`AT. § 813.16

70. Plaintiffs reallege and incorporate the above paragraphs as if fully set forth herein.

71. Defendants caused the Hotel to fall into disrepair, failed to service the debt on the
business; failed to provide proper financial reporting and transparency; and failed to perform
their duties pursuant to the R&W Operating Agreement and the Management Consulting
Agreement.

72. Plaintiff Raab, as the sole R&W Member with authority, had a right to control

R&W and the Hotel, including any Hotel revenue that was diverted from R&W.

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73. Defendants interfered with, prevented and blocked Raab from access to
information relating to the Hotel operations and his right to control the Hotel operations

74. The Hotel’s revenue, including rents and profits, were in danger of being lost or
materially impaired as a result of the Defendants’ actions.

75. The Hotel was in disrepair and its revenues were apparently insufficient to service
the debt and expenses of operation.

76. Pursuant to Wisconsin Statutes § 813.16, Plaintiffs are entitled to the appointment
of a receiver for R&W and the Hotel.

77. Upon Motion, the Court ordered the appointment of a receiver for R&W and the
Hotel on August 15, 2014.

78. Pursuant to the Court’s order, the receiver has assumed control of R&W and the
Hotel, liquidated real property and assets of R&W, but has not been released by the Court.

79. As a result of Defendants’ actions that necessitated the appointment of the
receiver, Plaintiffs have suffered damages and incurred expenses in an amount to be determined

at trial.

SECOND CAUSE OF ACTION:
ALTERNATIVE OR SUBSEQUENT APPO]NTM.ENT
OF A RECEIVER PURSUANT TO WfS. STAT. CHAPTER 128

80. Plaintiffs reallege and incorporate the above paragraphs as if fully set forth herein.

81. Upon information and belief, Defendants represented that the Hotel and any entity
utilized to manage and operate the Hotel was insolvent or in imminent danger of insolvency as
defined in Wisconsin Statutes §§ 128.00](1) and 128.08(1)(b).

82. Upon information and belief, Defendants represented that the Hotel and any entity

utilized to manage and operate the Hotel was delinquent in multiple obligations to other

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creditors The Hotel’s revenue, including rents and profits, were in danger of being lost or
materially impaired as a result of the Defendants’ actions. Moreover, the Hotel was in disrepair
and its revenues were apparently insufficient to service the debt and expenses of operation.

83. Pursuant to Wisconsin Statutes Chapter 128, Plaintiffs are entitled to an
appointment of a receiver for R&W, the Hotel and any and all entities utilized to manage and
operate the Hotel.

84. Upon Motion, the Court ordered the appointment of a receiver for R&W and the
Hotel on August 15, 2014.

85 . Pursuant to the Court’s order, the receiver has assumed control of R&W and the
Hotel, liquidated real property and assets of R&W, but has not been released by the Court.

86. As a result of Defendants’ actions that necessitated the appointment of the
receiver, Plaintiffs have suffered damages and incurred expenses in an amount to be determined
at trial.

THIRD CAUSE OF ACTION:
INTENTIONAL MISREPRESENTATION
(All Defendants)

87. Plaintiffs reallege and incorporate the above paragraphs as if fully set forth
herein.

88. Based upon an analysis of the incomplete electronic accounting records provided
in 2016 by the Defendants, from 1998 through 2014 the Defendants made false representations
to R&W and Raab regarding payments made from R&W to Michael, Wendel Entities and Sand

Entities, as set forth herein, knowing that said representations were untrue or recklessly made

without caring whether said representations were untrue.

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89. On or about 2012, Defendants Wendel lnvestments, WGI, Sand Hospitality
and/or Michael made false representations to R&W and Raab regarding the financial condition
of the Hotel, repairs and maintenance expenditures and agreements entered into with Michael’s
other entities, knowing that said representations were untrue or recklessly made without caring
whether said representations were untrue.

90. Defendants owed a duty to Plaintiffs to disclose all known material facts relating
to the Hotel.

91. Defendants made these representations with the intent to deceive and induce
Plaintiffs to act upon the representations

92. Plaintiffs believed Defendants’ representations to be true and justifiably relied
upon the representations to the Plaintiffs’ detriment

93. As a result of Defendants’ representations, Plaintiffs suffered damages.

FOURTH CAUSE OF ACTION:
S'I`RICT LIAB]LITY MISREPRESENTATION

(All Defendants)
94. Plaintiffs reallege and incorporate the above paragraphs as if fully set forth herein.
95. Based upon an analysis of the incomplete electronic accounting records provided
in 2016 by the Defendants, from 1998 through 2014 the Defendants made false representations
to R&W and Raab regarding payments made from R&W to Michael, Wendel Entities and Sand
Entities, as set forth herein, knowing that said representations were untrue or recklessly made

without caring whether said representations were untrue.
96. On or about 2012, Defendants Wendel lnvestments, WG], Sand Hospitality

and/or Michael made false representations to R&W and Raab regarding the financial condition

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of the Hotel, repairs and maintenance expenditures and agreements entered into with Michael’s
other entities, knowing that said representations were untrue or recklessly made without caring
whether said representations were untrue.

97. Defendants made these representations under circumstances where Defendants
were in a position to have known, purported to know, or should have known, that the
representations were false.

98. Plaintiffs relied upon Defendants’ misrepresentations and suffered damage.

FIFTH CAUSE OF ACTION:
NEGLIGENT MISREPRESENTATION
(All Defendants)

99. Plaintiffs reallege and incorporate the above paragraphs as if fully set forth
herein.

100. Based upon an analysis of` the incomplete electronic accounting records provided
in 2016 by the Defendants, from 1998 through 2014 the Defendants made false representations
to R&W and Raab regarding payments made from R&W to Michael, Wendel Entities and Sand
Entities, as set forth herein, knowing that said representations were untrue or recklessly made
without caring Whether said representations were untrue.

101. Defendants Wendel Investments, WGl, Sand Hospitality and/or Michael
negligently disclosed or negligently failed to disclose the material facts regarding the financial
condition of` the Hotel, repairs and maintenance expenditures and agreements entered into with
Michael’s other entities, under circumstances in which a person of ordinary intelligenee,
prudence or similar experience would have accurately disclosed such information

102. Defendants’ actions and representations created an unreasonable risk of` monetary
damage to R&W and/or Raab.

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103. Defendants’ actions constitute a lack of reasonable care in ascertaining and
disclosing information that should have been disclosed to R&W and Raab.
104. Plaintiffs believed Defendants’ actions and representations to be true and
justifiably relied upon them, causing damage to the Plaintiffs
SIXTH CAUSE OF ACTION:
CONVERSION
(All Defendants)
105. Plaintiffs reallege and incorporate the above paragraphs as if fully set forth herein.
106. Upon information and belief, Defendants procured R&W property without
R&.W’s consent or authorization
107. Upon information and belief, Defendants converted R&W property for their own

benefit without R&W’s consent or authorization

108. Plaintiffs suffered harm and damage as a result of the Defendants’ actions.

SEVENTH CAUSE OF ACTION:
THEFT BY CONTRACTOR IN VIOLATION
OF WISCONSIN STATUTE § 779.02(5)
(All Defendants)
109. Plaintiffs reallege and incorporate the above paragraphs as if fully set forth herein.
110. Upon information and belief, Defendants failed to use money provided by R&W
and/or Raab to pay for Hotel repairs and maintenance provided by suppliers and subcontractors
111. Upon information and belief, Defendants received payments from R&W and/or

Raab for the Hotel repairs and maintenance, and such payments were to be held in trust pursuant

to Wis. Stats. § 779.02(5).

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112. Upon information and belief, Defendants used money provided by R&W and/or
Raab, which was designated for the parties providing Hotel repairs and maintenance and held in
trust by the DefendantsJ for the Defendants’ benefits, contrary to the R&W Operating
Agreement, Management Consulting Agreement and Wisconsin Statute § 779.02(5).

113. Defendants’ actions in violation of Wisconsin Statute § 799.02(5) are deemed to
be thefi by any officer, director, member, partner or agent responsible for the actions, including
but not limited to, Michael.

114. Defendants’ actions have damaged Plaintiffs to the extent that the Defendants
received money, but have not paid for all the repairs, maintenance, supplies or other services
from the received money that was to be held in trust for the benefit of such providers

EIGHTH CAUSE OF ACTION:
CIVIL THEFT IN VIOLATION ()F W]SCONSIN
STATUTES §§ 779.02(5), 895.446 AND 943.20
(All Defendants)

115. Plaintiffs reallege and incorporate the above paragraphs as if fully set forth herein.

116. Defendants possess, acquired and/or converted Plaintiffs’ property.

117. Defendants are intentionally concealing or have converted Plaintiffs’ property for
the Defendants’ use and benefit without Plaintiffs’ permission or authorization

118. Defendants used money provided by R&W and/or Raab, which was designated
for the parties providing Hotel repairs and maintenance and held in trust by the Defendants, for
the Defendants’ benefits, contrary to the R&W Operating Agreement, Management Consulting
Agreement and in violation of Wisconsin Statute § 779.02(5).

119. Defendants’ conduct violates Wisconsin Statutes §§ 779.02(5), 895.446 and

943.20.

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120. As a result of Defendants’ conduct, Plaintiffs have suffered damages

121. Pursuant to Wisconsin Statute § 895.446, Plaintiffs are entitled to recover actual
damages from Defendants, together with all costs of investigation and litigation that were
reasonably incurred, and exemplary damages of not more than three times the amount awarded

for actual damages

NINTH CAUSE OF ACTION:
DECLARATION 'I`HAT THE HOTEL MANAGEMENT AGREEMENT
IS VOID AND UNENFORCEABLE
(All Defendants)

122. Plaintiffs reallege and incorporate the above paragraphs as if fiilly set forth herein.

123. Defendants Wendel Investments and/or Michael did not have the legal right, title
or interest in to act on behalf of R&W, and therefore had not right, authority or power to enter
into the Hotel Management Agreement with Sand Hospitality.

124, Defendants Wendel Investments and/or Michael utilized R&W assets to make
payments to Sand Hospitality or its affiliated entities, pursuant to the Hotel Management
Agreement, without the right, authority or power to act on R&W’s behalf, without R&.W’s or
Raab’s knowledge and consent and in violation of` Defendants fiduciary duties and duties of good
faith and fair dealing pursuant to the R&W Operating Agreement and Management Consulting
Agreement

125. Plaintiffs request a declaration that the Hotel Management Agreement is void and
unenforceable and that all monies paid to Sand Hospitality or any affiliated entity be disgorged
and returned to R&W.

126. Upon information and belief, the Defendants’ breaches have caused damages to

Plaintiffs in an amount to be determined at trial.

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TENTH CAUSE OF ACTION:
BREACH OF CONTRACT
(All Defendants)

127. Plaintiffs reallege and incorporate the above paragraphs as if` fully set forth herein.

128. Plaintiffs and Defendant formed R&W, pursuant to which each of them agreed to
provide certain contributions and services in exchange for an ownership interest in R&W.

129. Upon information and belief, Wendel lnvestments, of which Michael was a
director, was to act in good faith, exercise absolute loyalty, carry out all fiduciary duties, enter
into contracts with the best interest of R&W and Raab in mind, and avoid diverting R&W assets

130. Defendants Wendel investments and Michael, breached the terms and conditions
of said agreement by failing to perform in accordance with their duties

131. Defendants failure to properly perform under R&W Operating Agreement has
caused damages to the Plaintiffs including but not limited to, the loss of business; loss of the
benefit of the bargain - namer the 80% ownership interest and related revenues; the loss in the
value of R&W; the exposure to additional debt, such as the new loans that were incurred by the
Defendants plus all amounts incurred by the Plaintiffs due to Defendants failure to perform in
accordance with their duties.

132. Plaintiffs and Defendant WGI, through Defendant Michael, entered into the Hotel
Management Agreement, pursuant to which WGI was to manage the Hotel.

133. Defendant WGI had a fiduciary duty and was to act in good faith in performing its
management duties at the Hotel.

134. Defendant WGl breached its fiduciary duty and duty to act in good faith by failing
to perform its management duties at the Hotel and by converting and diverting R&W assets in a
manner that was not in the best interests of R&W and Raab.

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135. Defendant WGI’s breaches and failures have caused Plaintiffs damages in an
amount to be determined at trial.

136. ln the event that the Court determines that the Hotel Managernent Agreement with
Sand Hospitality is valid and enforceable, Defendants Sand Hospitality, Leo Sand and/or Sand
Entities had a fiduciary duty and were to act in good faith in performing the management duties
at the Hotel.

137. Defendants Sand Hospitality, Leo Sand and/or Sand Entities breached their
fiduciary duty and duty to act in good faith by failing to perform the management duties at the
Hotel and by converting and diverting R&W assets in a manner that was not in the best interests
of R&W and Raab.

138. Defendants Sand Hospitality, Leo Sand and/or Sand Entities breaches and failures

have caused Plaintiffs damages in an amount to be determined at trial.

ELEVENTH CAUSE OF ACTION:
BREACH OF FIDUCIARY DUTY
(All Defendants)
139. Plaintiffs reallege and incorporate the above paragraphs as if fully set forth herein.
140. Defendants Wendel Investments, WGI and/or Michael have a fiduciary duty to act

in the best interests of R&W and Raab.

141. After Wendel Investments was administratively dissolved, neither Wendel

lnvestments nor Michael could act on behalf of R&W.

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142. Defendants Wendel Investments, WGI and/or Michael breached their fiduciary
duties to act in the best interests of R&W and Raab by diverting R&W assets for the Defendants’
benefit and in violation of the best business interests of R&W and Raab.

143. As a result of Defendants Wendel lnvestments, WGI and/or Michael’s breaches of
their fiduciary duties, Plaintiffs have suffered damages in an amount to be determined at trial.

144. In the event that the Court determines that the Hotel Management Agreement with
Sand Hospitality is valid and enforceable, Defendants Leo Sand and Sand Entities have a
fiduciary duty to act in the best interest of R&W and Raab.

145. Defendants Leo Sand and Sand Entities breached their fiduciary duties to act in
the best interest of R&W and Raab by diverting R&,W assets for the Defendants’ benefit and in
violation of the best business interest of R&W and Raab.

146. As a result of Defendants Leo Sand’s and Sand Entities’ breaches of their
fiduciary duties, Plaintiffs have suffered damages in an amount to be determined at trial.

TWELFTH CAUSE OF ACTION:
BREACH OF LO¥ALTY, GOOD FAITH, AND FAIR DEALING
(All Defendants)

147. Plaintiffs reallege and incorporate the above paragraphs as if fully set forth herein.

148. Defendants Wendel Investments, WGI and/or Michael had duties of loyalty, good
faith and fair dealing with respect to R&W and Raab.

149. Defendants Wendel lnvestments, WGI and/or Michael breached their duties of
loyalty, good faith and fair dealing with respect to R&W and Raab by diverting R&W assets for

the Defendants’ benefit and in violation of the best business interests of R&W and Raab.

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150. Defendants Wendel Investments, WGI and/or Michael’s breaches of their duties
of loyalty, good faith and fair dealing have caused Plaintiffs to suffer damages in an amount to
be determined at trial.

151. ln the event that the Court determines that the Hotel Management Agreement with
Sand Hospitality is valid and enforceable, Defendants Leo Sand and Sand Entities had duties of
loyalty, good faith and fair dealing with respect to R&W and Raab.

152. Defendants Leo Sand and Sand Entities breached their duties of loyalty, good
faith and fair dealing with respect to R&W and Raab by diverting R&W assets for the
Defendants’ benefit and in violation of the best business interests of R&W and Raab.

153. Defendants Leo Sand’s and Sand Entities’ breaches of their duties of loyalty,
good faith and fair dealing have caused Plaintiffs to suffer damages in an amount to be

determined at trial.
THIRTEEN’I’H CAUSE OF ACTION:
TORTIOUS INTERFERENCE WITH CONTRACT
(Leo Sand and Sands Entities)

154. Plaintiffs reallege and incorporate the above paragraphs as if fully set forth herein.

155. The Defendants Leo and/or Sands Entities intentionally and unjustifiably
interfered with the Plaintiffs contractual relationship with Michael and/or Wendel Entities

156. Leo’s and/or the Sand Entities’ purpose was to interfere with the contractual
relationship between Plaintiffs, Michael and/or the Wendel Entities n

157. Leo and/or the Sand Entities knew or should have known that such interference
was substantially certain to occur as a result of their conduct.

158. Defendants’ tortious interference with contract caused damage to the Plaintiffs

FOURTEENTH CAUSE OF ACTION:

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ACCOUNTING
(All Defendants)

159. Plaintiffs reallege and incorporate the above paragraphs as if fully set forth herein.

160. As a result of the Defendants’ actions, including the diversion of R&W assets,
failure to maintain and repair the Hotel, and failure to provide financial information relating to
the operation of the Hotel, Plaintiffs are not in a position to determine the amount of damages
Plaintiffs have suffered without a proper accounting

161. The amounts improperly diverted, transferred, taken or misused by Defendants
can only be determined by a complete and accurate accounting.

FIFTEENTH CAUSE OF ACTION:
CIVIL CONSPIRACY
(All Defendants)

162. Plaintiffs reallege and incorporate the above paragraphs as if firlly set forth herein.

163. Defendants knowingly or voluntarily agreed, formed, participated and/or operated
a conspiracy and intended to further the conspiracy.

164. The purpose of the conspiracy was to gain a financial benefit for the Defendants
and deprive R&W and Raab of business interests and assets

165. Defendants, by their concerted actions, committed the acts set forth in this
Amended Complaint in furtherance of the conspiracy to deprive R&W and Raab of business
interests and assets

166. Defendants’ actions in furtherance of the conspiracy to deprive R&W and Raab of
business interests and assets have caused damage to the Plaintiffs

stTEEN'rH CA`USE 0F ACTION:

CIVIL CONSPIRACY PURSUANT TO WIS. STAT. § 134.01
(All Defendants)

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167. Plaintiffs reallege and incorporate the above paragraphs as if fully set forth herein.

168. Defendants acted together by agreeing to, combining, associating or mutually
undertaking a common purpose.

169. Defendants’ common purpose was to injure R&W’s and Raab’s business
business interests and assets

170. Defendants acted with the common purpose to injure R&W’s and Raab’s
business, business interests and assets acted with a malicious motive.

171. Defendants intentionally concealed the existence of the common purpose from the
Plaintiffs

172. Defendants’ conduct violates Wis. Stats. § 134.01.

173. As a direct and proximate result of Defendants’ actions, R&W and Raab have
sustained economic damage, for which Defendants arejointly and severally liable.

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ACQUISITION AND CONT]NUANCE OF AN INTEREST ]_N AND
CONTROL OF AN ENTERPRISE IN A PATTERN OF RACKETEERING
ACTIVITY PU'RSUANT TO 18 U.S.C. § 1962(a)

(All Defendants)

174. Plaintiffs reallege and incorporate the above paragraphs as if fiilly set forth herein.
175. Fursuant to 13 U.S.C. § 1961(1), Defendants engaged in racketeering activity by:
a. Repeatedly violating 18 U.S.C. § 1341 when the Defendants used United
States mail in furtherance of their scheme to fraudulently obtain the Plaintiffs’ property;
b. Repeatedly violating 18 U.S.C. § 1343 when the Defendants conducted
financial transactions with the fraudulently acquired assets using wire or other means, to inject
and commingle these assets with other Wendel Entities and/or Sand Entities to conceal the

fraudulent actions;

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c. Repeatedly violating 18 U.S.C. §1952(a)(1) when the Defendants travelled
in interstate commerce, and/or used the United States mail, and/or any facility in interstate
commerce, with the intent to distribute proceeds from their unlawful activity, as defined in 18
U.S.C. § l952(b).

d. Repeatedly violating 18 U.S.C. § 1952(a)(3) when the Defendants
promoted, managed, established, carried on, or facilitated the promotion, management,
establishment or carrying on, of the unlawful activity, as defined under 18 U.S.C. § l952(b).
The Defendants’ unlawful activity includes but is not limited to, violating 18 U.S.C. §§ 1956
and/or 1957.

e. Repeatedly violating 18 U.S.C. §1956 when the Defendants conducted a
financial transaction using property that they knew was fraudulently obtained. The Defendants
intended to promote the carrying on of the fraudulent activities and knew the transaction Was
designed in whole or part to conceal the nature, source, or ownership of the proceeds from the
fraudulent actions

f. Repeatedly violating 18 U.S.C. §1957 when the Defendants knowingly
engaged in a monetary transaction that used criminally derived property that had a value greater
than $10,000 and was derived from fi‘audulent activity. Such offenses took place within the
United States, pursuant to 18 U.S.C. §1957(d).

176. Pursuant to 18 U.S.C. § 1961(3), the Defendants, individuals and entities capable
of holding a legal or beneficial interest in property, are persons
177. Upon information and belief, Wendel Entities, Sand Entities, Michael and/or Leo

are an enterprise

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178. Upon information and belief, Wendel Entities, Sand Entities, Michael and/or Leo
are each associated with the enterprise by the association of fact.

179. Pursuant to 18 U.S.C. § 1961(4), Wendel Entities, Sand Entities, Michael and/or
Leo formed an association in fact, and that association is an “enterprise”. The association is
engaged in, and its activities affect, interstate commerce

180. Upon information and belief, Wendel Entities, Sand Entities, Michael and/or Leo
are each associated with the enterprise formed by an association in fact. The Defendants intended
to fi‘audulent transfer Hotel assets to individuals and other legal entities Each individual
defendant is distinct fi'om this enterprise and has its own legitimate business

181. Alternatively, the Defendants each formed an enterprise through an association in
fact, comprised of each company and its employees and agents Each company is distinct fi'om
its employees and agents because of its role in the racketeering activity is separate from the
legitimate activities the company conducts

182. Upon information and belief, each Defendant had a role in directing the affairs of
each enterprise formed by an association in fact.

183. Pursuant to 18 U.S.C. § 1961(5), the Defendants engaged in at least two acts of
racketeering activity which occurred within ten years of each other.

184. Pursuant to 18 U.S.C. § 1962(a), the Defendants received income derived, directly
or indirectly, from a pattern of racketeering activity.

185. Pursuant to 18 U.S.C. § 1962(a), the Defendants used or invested, directly or
indirectly, part of such income or proceeds of such income, in acquisition of an interest in, or
establishment or operation of an enterprise, which is engaged in, or the activities affect, interstate
commerce

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186. As a direct and proximate result of the Defendants’ pattern of racketeering
activity, the Plaintiffs suffered damages pursuant to 18 U.S.C. § 1964.
EIGHTEENTI~I CAUSE OF ACTION:

ACQUISITION AND CON'I`[NUANCE OF AN INTEREST IN AND
CONTROL OF AN ENTERPRISE [N A PATTERN OF RACKETEERING
ACTIVITY PURSUANT TO 18 U.S.C. § 1962 (b)

(All Defendants)

187. Plaintiffs reallege and incorporate the above paragraphs as if` fully set forth herein.

188. Pursuant to 18 U.S.C. § l962(b), the Defendants, through a pattern of
racketeering activity, acquired or maintained, directly or indirectiy, an interest in or control of an
enterprise

189. Pursuant to 18 U.S.C. § l962(b), this enterprise is engaged in, or activities of
which affect, interstate commerce

190. As a direct and proximate result of the Defendants’ pattern of racketeering
activity, the Plaintiffs suffered damages pursuant to 18 U.S.C. § 1964.

NINETEENTH CAUSE OF ACTION:

ACQUISI'I'ION AND CONT]NUANCE OF AN INTEREST IN AND
CONTROL OF AN ENTERPRISE lN A PATTERN OF RACKETEER]NG
ACTIVITY PU'RSUANT TO 18 U.S.C. § 1962 (c)

(all Defendants)

191. Plaintiffs reallege and incorporate the above paragraphs as if fully set forth herein.

192. Pursuant to 18 U.S.C. § 1962(c), the Defendants were employed or associated
with an enterprise that engaged in, or the activities of which, affect interstate commerce

193. The enterprise conducted or participated, directly or indirectly, in the conduct of
such enterprise’s affairs through a pattern of racketeering activity.

194. As a direct and proximate result of the Defendants’ pattern of racketeering

activity, the Plaintiffs suffered damages pursuant to 18 U.S.C. § 1964.

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TWENTIETH CAUSE OF ACTION:
CONSP[RACY TO VIOLATE 18 U.S.C. § 1962(a-c)
FURSUANT TO 18 U.S.C. § l962(d)

(All Defendants)

195. Plaintiffs reallege and incorporate the above paragraphs as if fully set forth herein.

196. Pursuant to 18 U.S.C. § 1962(d), Defendants conspired to violate 18 U.S.C. §
1962(a-c).

197. Defendants agreed to participate in the enterprise’s conduct by engaging in a
pattern of racketeering activity, as alleged, and further agreed to perform services which would
facilitate the enterprise’s unlawfiil conduct

198. As a direct and proximate result of the Defendants’ pattern of racketeering
activity, the Plaintiffs suffered damages pursuant to 18 U.S.C. § 1964.

TWENTY-FIRST CAUSE OF ACTION:
VIOLA'I'ION OF WIS. STAT. § 946.83(3)
WISCONSIN ORGANIZED CRIMIE CONTROL ACT (WOCCA)
(All Defendants)

199. Plaintiffs reallege and incorporate the above paragraphs as if fully set forth herein.

200. Pursuant to Wis. Stat. § 946.82(2), Wendel Entities, Sand Entities, Michael andfor
Leo are an enterprise

201. Pursuant to Wis. Stat. § 946.82(2), Wendel Entities, Sand Entities, Michael and/or
Leo formed an association in fact.

202. Wendel Entities, Sand Entities, Michael and/or Leo are each associated with the
enterprise by the association of fact.

203. Pursuant to Wis. Stat. § 946.83(3), the Defendants were employed by, or

associated with, the enterprise

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204. Pursuant to Wis. Stat. § 946.83(3), the Defendants conducted or participated,
directly or indirectly, in the enterprise through a pattern of racketeering activity.
205. The Defendants intended to misrepresent invoices, records, and financial
statements to the Plaintiffs
206. Each Defendant is distinct from this enterprise and has an additional, legitimate
business
207. Pursuant to Wis. Stat. §§ 946.82(3)-(4), Defendants engaged in at least three
incidents of racketeering activity, that have the same or similar intents, results, accomplices
victims or methods of commission or otherwise are interrelated by distinguishing characteristics
by:
a. Violating 18 U.S.C. 1961(1);
b. Violating Wis. Stat. § 134.05;

i. Defendants formed a conspiracy and sought to cause the Hotel loss of
customers; reduced profits; and economic losses

ii. As described in Wis. Stat. § 134.05(1), the Defendants paid an agent,
employee or servant of one or more of the Defendants’ businesses
commissions a gift or gratuity with the intent to influence the agent’s,
employee’s, or servant’s action in relation to the business of the
agent’s employee’s or servant’s principal, employer, or master.

iii. Michael is an agent, employee, or servant of Wendel Entities
iv. Leo is an agent, employee, or servant of Sand Entities

v. As described in Wis. Stat. § 134.05(2)(a), Michael, Leo, Wendel
Entities, and/or Sand Entities, corruptly requested or accepted a gif`t,
gratuity, or promise to make a gift or do an act beneficial to himself,
under an agreement or with an understanding that he shall act in any
particular manner in relation to the business of the agent’s, employee’s
or servant’s principal, employer, or master.

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vi. As described in Wis. Stat. § 134.05(2)(b), Michael and/or Leo, are
authorized to procure materials, supplies, or other articles either by
purchase or contract for his/its principal, employer, or master, or to
employ service or labor for his/its principal, employer, or master.

vii. As described in Wis. Stat. § 134.05(2)(b), Michael, Leo, Wendel
Entities, and/or Sand Entities, received, directly or indirectly, for
itself/himself or for another, a commission, discount, or bonus fi'om
the person who makes such sale or contract, fumishes such materials,
supplies, or other articles, or from a person who renders such service
or labor.

viii. As described in Wis. Stat. § 134.05(3), the Defendants are persons
who gave or offered an agent, employee, or servant a commission,
discount, or bonus

ix. The unlawfi.ll actions arising out of the conspiracy of the Defendants
have caused the Plaintiffs financial injury for which the Defendants are
jointly and severally liable.; and `

c. Violating Wis. Stat. § 943.20.
208. Upon information and belief, the first and last incident occurred within seven
years of each other.
209. As a direct and proximate result of the Defendants’ pattern of racketeering

activity, the Plaintiffs suffered damages pursuant to Wis. Stat. § 946.87(4).

TWENTY-SECOND CAUSE OF ACTION:
VIOLATION OF WIS. STAT. § 946.83(2)
WISCONSIN ORGANIZ.ED CRIME CON'I`ROL ACT (WOCC_A)
(All Defendants)
210. Plaintiffs reallege and incorporate the above paragraphs as if fully set forth herein.
211. The Defendants, through a pattern of` racketeering activity, directly or indirectly,

acquired or maintained an interest in or control of an enterprise and/or real property.

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212. As a direct and proximate result of the Defendants’ pattern of racketeering
activity, the Plaintiffs suffered damages pursuant to Wis. Stat. § 946.8?(4).
TWENTY-THIRD CAUSE OF ACTION:
VIOLATION OF WIS. STAT. § 946.83_(1)
WISCONSIN ORGANIZED CRIM]£ CONTROL ACT (WOCCA)
(All Defendants)

213. Plaintiffs reallege and incorporate the above paragraphs as if fully set forth herein.

214. The Defendants received Hotel revenue as proceeds These proceeds were
received with the knowledge that the proceeds were derived from a pattern of racketeering
activity.

215. The Defendants subsequently used or invested these proceeds in the establishment
or operation of an enterprise by transferring Hotel assets into the Defendants’ other companies’
accounts

216. As a direct and proximate result of the Defendants’ pattern of racketeering
activity, the Plaintiffs suffered damages pursuant to Wis. Stat. § 946.87(4).

TWENTY-FOURTH CAUSE OF ACTION:
CON’I'RIBUTION OR SUBROGATION
(Mr'clrael Wendel and Wendel Entities)

217. Plaintiffs reallege and incorporate the above paragraphs as if fully set forth herein.

218. That the secured creditor of R&W was Guardian Credit Union (“GCU”) and that
Guardian Credit Union commenced a lawsuit on July 24, 2015, Waukesha County Case No.
lS-CV»001436.

219. That the receiver eventually liquidated the Hotel, by Receiver sale which occurred

in May, 2015, with a sale to a third party.

220. That there was an alleged deficiency on R&W’s debt to GCU.

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221. That the lawsuit and all claims asserted by GCU were resolved by settlement.

222. Pursuant to the terms of the original loan documents however, Raab and Michael
Wendel, both provided personal guarantees of the debt

223. Raab funded for a significant period of time under the Receivership the operations
of`R&W, for which Wendel, nor any of the Defendants contributed.

224. When the assets of R&W were under the direction and control of the Court-
appointed receiver, neither Wendel nor any of the Defendants contributed their fair share to the
operations of R&W, leading up to the liquidation

225. The operation of R&W and the costs associated with its operation, to the extent
that it could not be sustained by its revenues, were covered by GCU.

226. GCU, within the context of its then-pending litigation, demanded payment from
Raab and Wendel under their personal Guarantees.

227. Wendel’s guarantee was limited to $250,000.

228. Upon information and belief, Wendel only paid $50,000.

229. Raab paid in excess of $900,000 to cover the deficiency and operating expenses
of R&W during the pendency of the Receivership and to settle all remaining claims against
R&W and Raab by GCU. This was after applying the sale proceeds from the liquidation of the
Hotel and all assets ofR&W by the Receiver.

230. Upon information and belief, Rudolph Raab has paid more than his fair share of a
debt which Wendel and the Defendants should have contributed to.

231. Plaintiffs should be reimbursed for all amounts for which he paid above and
beyond his equitable share.

WHEREFORE, Plaintiffs Raab and R&W demandjudgment against Defendants as

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follows:

A.

Judgment against Defendant Michael C. Wendel, individually and d/b/a/ The Wendel
Group, lnc; Wendel Investments, lnc.; Wendel Companies, LLC; Wendel Enterprises,
LLC; Wendel lnvestments, LLC; Wendel Hospitality, LLC; West Bend Hospitality,
LLC; Sand Companies, Inc., Sand Hospitality, LLC, SCl Hotels, LLC in favor of
Plaintiffs Raab and R&W awarding compensatory damages for all fees and costs incurred
in seeking a receiver for R&W and the Hotel and as a result of a receiver being appointed
for R&W and the Hotel, together with interest reasonable attomeys’ fees, costs, and
disbursements in an amount to be determined by the Court;

Judgment against Defendant Michael C. Wendel, individually and dfb/a! 'llre Wendel
Group, lnc; Wendel Investments, lnc.; Wendel Companies, LLC; Wendel Enterprises,
LLC; Wendel Investments, LLC; Wendel Hospitality, LLC; and West Bend Hospitality,
LLC; and as applicable: Sand Companies, lnc.; Sand Hospitality, LLC; and SCI Hotels,
LLC in favor of Plaintiffs Raab and R&W awarding compensatory damages together
with interest reasonable attomeys’ fees, costs, and disbursements in an amount to be
determined by the Court;

Judgment against Defendant Leo Sands, individually and d/b!a “Sand Entities:” Sand
Hospitality, LLC; Sand Companies, lnc.; and SCI Hotels, LLC; and as applicable: The
Wendel Group, lnc; Wendel lnvestments, lnc.; Wendel Companies, LLC; Wendel
Enterprises, LLC; Wendel lnvestments, LLC; Wendel Hospitality, LLC; and West Bend
Hospitality, LLC, in favor of Plaintiffs Raab and R&W awarding compensatory damages
in an amount to be determined by the Court, together with interest, reasonable attorneys’
fees, costs and disbursements;

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Judgment against The Wendel Group, lnc.; Wendel Companies, LLC; Wendel
Enterprises, LLC; Wendel Investments, LLC; Wendel Hospitality, LLC; West Bend
Hospitality, LLC; Sand Companies, lnc.; Sand Hospitality, LLC; and SCI Hotels, LLC;
and their respective officers, directors, and shareholders in favor of Plaintiffs Raab and
R&.W awarding compensatory damages, together with interest, reasonable attomeys’
fees, costs, and disbursements in an amount to be determined by the Court;

Judgement against Defendants Michael Wendel; Leo Sand; The Wendel Group, lnc.;
Wendel Companies, LLC; Wendel Enterprises, LLC; Wendel Investments, LLC; West
Bend Hospitality, LLC; Wendel Hospitality, LLC; Sand Companies, lnc.; Sand
Hospitality, LLC; SCI Hotels, LLC in favor of Plaintiffs Raab and R&W awarding treble
damages and all costs of investigation and litigation that were reasonably incurred
pursuant to Wis. Stat. §§ 779.02(5), 395.80, 943.20.

A declaration that the Hotel Management Agreement executed by Sand Hospitality, LLC
is void and unenforceable, and all monies disbursed pursuant to the Hotel Management
Agreement be disgorged and returned to R&W, together With interest, reasonable
attomeys’ fees, costs, and disbursements in an amount to be determined by the Court;

For Causes of Action Seventeen through Twenty (18 U.S.C. § 1962 claims), in addition
to the prayers for relief set forth above, Plaintiffs further pray for a judgment requiring

that Defendants:

l. Divest any interest in any enterprise related to these causes of action;
2. Pay to Plaintiffs all damages, threefold;
3. Return all property that lawfully belongs to Plaintiffs;

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7.

Retum to Plaintiffs all proceeds that were made from the fraudulently transferred
P'"OP€'TY§

Pay Plaintiffs’ interest on such fraudulently transferred property;

Pay to Plaintiffs all other damages Plaintiffs suffered as the result of Defendants’
actions, including Plaintiffs’ costs and reasonable attomeys’ fees;

Such other relief this Court seemsjust and proper.

For Causes of Action Twenty-One through Twenty-Three (Wis. Stat. § 946.83 claims), in

addition to the prayers for relief set forth above, Plaintiffs further pray for a judgment

requiring that Defendants:

l.

2.

7.

Divest interest in any enterprise related to these causes of action;

Pay to Plaintiffs all damages, twofold;

Retum all property that lawfully belongs to Plaintiffs;

Retum to Plaintiffs all proceeds that were made from the fraudulently transferred
PTOP€YW;

Pay Plaintiffs interest on such fraudulently transferred property;

Pay to Plaintiffs all other damages the Plaintiffs suffered as the result of the
Defendants’ aetions, punitive damages, the Plaintiffs’ costs and reasonable
attomeys’ fees', and

Such other relief this Court seems just and proper_

Judgment on all claims in such amounts as established by the Court, together with any

statutory fees, eosts, and disbursements as the Court deems appropriate orjust;

Actual damages, together with all costs of investigation and litigation that Plaintiffs

reasonably incurred;

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K. Exemplary damages of not more than three times the amount awarded for actual
damages;

L. Subrogation and/or contribution from Defendants for all amounts paid on behalf of others
above their equitable share;
Pre-judgment interest, plus the costs and disbursements of this action;
Actual attorneys’ fees; and

Any such other and further relief as the Court deems just and equitable

Dated at Brooktield, Wisconsin, this 19th day of September, 2016.

DeWITT ROSS & STEVENS S.C.
Attorneys for Plaintiffs,

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v / _; .
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